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                                                                                       FILED
                                                                                     June 11, 2025
                                                                                CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS
                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS                                Jaemie Herndon
                                                                             BY: ________________________________
                                SAN ANTONIO DIVISION                                                 DEPUTY


 UNITED STATES OF AMERICA,                      §
                                                §
          Plaintiff,                            §
                                                §
 v.                                             § CRIMINAL NO. SA-25-CR-00200-FB
                                                §
 JOB ELIEZER DE LA TORRE,                       §
                                                §
          Defendant.                            §

             ORDER AMENDING PRELIMINARY ORDER OF FORFEITURE

         Came on to be considered the United States of America’s Motion to Amend Preliminary

Order of Forfeiture, and this Court being fully and wholly apprised in all its premises, finds that

the United States’ motion is meritorious and should be, and hereby is, in all things GRANTED.

         IT IS THEREFORE ORDERED that the Preliminary Order of Forfeiture (Doc. 21) be

amended to include the following property, namely:

      1. 1. Glock GMBH 48 Pistol CAL: 9 SN: BLGX009;
      2. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
      3. Palmetto State Armory Tyranny-15 Pistol CAL: Unknown SN: TJEFFERSON1635;
      4. Aero Precision Texas Pistol CAL: Unknown SN: TX5857;
      5. Larue Tactical LT-15 Pistol CAL: Unknown SN: TX5857;
      6. Anderson Manufacturing AM-15 Pistol CAL: Unknown SN: 23022550;
      7. Palmetto State Armory Maga-15 Pistol CAL: Unknown SN: BIGLY01795;
      8. Runner Runner Guns R-15F Rifle CAL: Unknown SN: TX0129;
      9. TS Arms TS-15 Rifle CAL: 556 SN: SP3-0085;
      10. MKE-Makina VE Kimya Endustrisi Kurumu (Kirikkale) AP5 Pistol CAL: 9 SN: T0624-
          20CF00911;
      11. Runner Runner Guns R-15F Rifle CAL: Unknown SN: TX0128;
      12. Israel Weapon IND- IWI (Israel Military IND- IMI) Galil Ace SAR Pistol CAL: 762 SN:
          G2003796;
      13. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: P2110702;
      14. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: P2127808;
      15. Arex Rex Zero 1T Pistol CAL: 9 SN: A22913;
      16. CZ (Ceska Zbrojovka) CZ75 SP-01 Pistol CAL: 9 SN: A989005;
      17. Sig-Sauer P226 Elite Pistol CAL: 9 SN: 47E019389;
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   18. Israel Weapon IND- IWI (Israel Military IND- IMI) Jericho 941 Pistol CAL: 9 SN:
       J1006912;
   19. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: XC224193;
   20. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   21. CZ (Ceska Zbrojovka) CZ75 SP-01 Pistol CAL: 9 SN: D113581;
   22. Sig-Sauer P226 Elite Pistol CAL: 9 SN: UU650031;
   23. Springfield Armory, Geneseo, IL Prodigy Pistol CAL: 9 SN: NMH26408;
   24. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 45 SN: TG20459;
   25. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: TX02407;
   26. Glock GMBH 43X Pistol CAL: 9 SN: BNUW928;
   27. Sig-Sauer P226 Pistol CAL: 9 SN: 47A081665;
   28. Sig-Sauer P226 Elite Pistol CAL: 9 SN: U696381;
   29. CZ (Ceska Zbrojovka) CZ452 ZKM Scout Rifle CAL: 22 SN: B046080;
   30. Aero Precision X15 Pistol CAL: Unknown SN: X400451;
   31. Palmetto State Armory HBR-15 Pistol CAL: Unknown SN: 8700492;
   32. Palmetto State Armory ISRAEL-15 Pistol CAL: Unknown SN: 194800084;
   33. TS Arms SP3 Receiver/Frame CAL:556 SN: SP3-0084;
   34. Double Star Corp. Star 15 Receiver/Frame CAL: 556 SN: D0004666;
   35. Palmetto State Armory CONFIRMED-15 Pistol CAL: Unknown SN: SCOTUS0645;
   36. Palmetto State Armory SPACERIDER-15 Pistol CAL:Unknown SN:HANGON04298;
   37. Palmetto State Armory SNEK-15 RECEIVER/FRAME CAL:Multi SN:YC9-00390;
   38. Palmetto State Armory Baby PFG-15 Pistol CAL:Unknown SN:POOPY00432;
   39. Palmetto State Armory Baby PFG-15 Pistol CAL:Unknown SN:POOPY00291;
   40. Palmetto State Armory MAGA-15 Pistol CAL:Unknown SN:BIGLY01794;
   41. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   42. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   43. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   44. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   45. $26,000, more or less, in United States currency; and
   46. Any and all firearms, ammunition, and/or accessories involved in or used in the
       commission of the criminal offenses,
hereinafter referred to as Subject Property.

       IT IS FURTHER ORDERED that this Order including the Subject Property is hereby

incorporated into the Preliminary Order of Forfeiture (Doc. 21).




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       IT IS FURTHER ORDERED that the Preliminary Order of Forfeiture (Doc. 21) entered

on May 23, 2025, in all other respects, remains in full force and effect.

       IT IS SO ORDERED.

       SIGNED this 11th         day of     June                      , 2025.



                                              FRED BIERY
                                              UNITED STATES DISTRICT JUDGE




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